Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 1 of 18 Page ID #:3632



    1   Nancy G. Ross
         nross@mayerbrown.com
    2   Brian D. Netter
         bnetter@mayerbrown.com
    3   Laura Hammargren
         lhammargren@mayerbrown.com
    4   Samuel P. Myler
         smyler@mayerbrown.com
    5   MAYER BROWN LLP
        71 South Wacker Drive
    6   Chicago, IL 60606
        Telephone:      312.782.0600
    7   Facsimile: 312.701.7711
    8

    9   Attorneys for Defendants
   10
                       UNITED STATES DISTRICT COURT
   11
                      CENTRAL DISTRICT OF CALIFORNIA
   12

   13    CLIFTON W. MARSHALL, et al., Case No. 16-CV-6794 AB (JCx)
   14
                   Plaintiffs,        DECLARATION OF NANCY
                                      ROSS IN SUPPORT OF
   15
             v.                       DEFENDANTS' MOTION FOR
                                      PARTIAL SUMMARY
   16
         NORTHROP GRUMMAN             JUDGMENT
   17    CORPORATION, et al.
                                      Date: June 7, 2019
   18              Defendants.        Time: 10:00 a.m.
                                      Judge: Hon. André Birotte Jr.
   19

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Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 2 of 18 Page ID #:3633



    1
                      DECLARATION OF NANCY G. ROSS
    2   I, Nancy G. Ross, declare and state as follows:
    3         1.     I am an attorney with the law firm of Mayer Brown LLP, attorneys of
    4   record for defendants in the above-captioned matter. If called upon as a witness, I
    5   could and would competently testify to the facts set forth below, as I know each to
    6   be true based on my own personal knowledge or based upon my review of the files
    7   and records produced in discovery in this matter.
    8         2.     Attached hereto as Exhibit 1 (NGC0014113) is a true and correct
    9   copy of the 2016 Northrop Grumman Savings Plan Form 5500 produced by the

   10
        Defendants in response to Plaintiffs’ discovery requests in this case.
              3.     Attached hereto as Exhibit 2 (NGC0216219) is a true and correct
   11
        copy of excerpts of the Northrop Grumman Savings Plan August 1, 2010
   12
        Restatement produced by the Defendants in response to Plaintiffs’ discovery
   13
        requests in this case.
   14
              4.     Attached hereto as Exhibit 3 (NGC0000225) is a true and correct
   15
        copy of excerpts of the Northrop Grumman Savings Plan October 1, 2013
   16
        Restatement produced by the Defendants in response to Plaintiffs’ discovery
   17
        requests in this case.
   18
              5.     Attached hereto as Exhibit 4 (NGC0300848) is a true and correct
   19   copy of the January 2010 Northrop Grumman Savings Plan Summary Plan
   20   Description produced by the Defendants in response to Plaintiffs’ discovery
   21   requests in this case.
   22         6.     Attached hereto as Exhibit 5 (NGC0010835) is a true and correct
   23   copy of the Investment Committee Charter produced by the Defendants in
   24   response to Plaintiffs’ discovery requests in this case.
   25

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Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 3 of 18 Page ID #:3634



    1
              7.    Attached hereto as Exhibit 6 (NG1661928, Grabek Trial Ex. 215)1
    2
        is a true and correct copy of the Fiduciary Training presentation received by the
    3   Investment Committees The exhibit is authenticated in the Declaration of
    4   Dennis Newberry filed contemporaneously herewith.
    5         8.    Attached hereto as Exhibit 7 (NGC0009042) is a true and correct
    6   copy of the Review of ERISA Fiduciary Roles and Responsibilities presentation
    7   received by the Investment Committee or Administrative Committee produced
    8   by the Defendants in response to Plaintiffs’ discovery requests in this case. The
    9   exhibit is authenticated in the Declaration of Dennis Newberry filed
   10   contemporaneously herewith.
   11         9.    Attached hereto as Exhibit 8 (NG0009431) is a true and correct

   12
        copy of the ERISA Fiduciary Roles and Responsibilities presentation received
        by the Investment Committee or Administrative Committee produced by the
   13
        Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
   14
        is authenticated in the Declaration of Dennis Newberry filed contemporaneously
   15
        herewith.
   16
              10.   Attached hereto as Exhibit 9 (NG0309709) is a true and correct
   17
        copy of a Trust Chargeable Plan Expenses presentation produced by the
   18
        Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
   19
        is authenticated in the Declaration of Dennis Newberry filed contemporaneously
   20
        herewith.
   21         11.   Attached hereto as Exhibit 10 (NGC0249246) is a true and correct
   22   copy the November 2007 Investment Policy Statement. The exhibit is
   23   authenticated in the Declaration of Dennis Newberry filed contemporaneously
   24   herewith.
   25

   26
        1
          Documents identified as Grabek trial exhibits are part of the discovery record in
   27   this matter, as all Grabek trial exhibits were designated by Plaintiffs pursuant to the
   28   Court’s October 24, 2017 Order in In re Northrop Grumman Corp. ERISA Litig.,
        Case No. 06-cv-6213, Dkt. 802 (C.D. Cal. Oct. 24, 2017).

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Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 4 of 18 Page ID #:3635



    1
              12.   Attached hereto as Exhibit 11 (NGC0197766) is a true and correct
    2
        copy of July 27, 2007 Board of Directors Resolutions produced by the
    3   Defendants in response to Plaintiffs’ discovery requests in this case.
    4         13.   Attached hereto as Exhibit 12 (NGC0161168) is a true and correct
    5   copy of July 29, 2003 Resolutions of the Investment Committee produced by the
    6   Defendants in response to Plaintiffs’ discovery requests in this case.
    7         14.   Attached hereto as Exhibit 13 (NGC0310168) is a true and correct
    8   copy of June 1, 2004 Resolutions of the Investment Committee produced by the
    9   Defendants in response to Plaintiffs’ discovery requests in this case.
   10         15.   Attached hereto as Exhibit 14 (NGC0055554) is a true and correct
   11   copy the January 1, 2015 Investment Policy Statement produced by the

   12
        Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
        is authenticated in the Declaration of Dennis Newberry filed contemporaneously
   13
        herewith.
   14
              16.   Attached hereto as Exhibit 15 (NGC0109014) is a true and correct
   15
        copy ITA Department Primer produced by the Defendants in response to
   16
        Plaintiffs’ discovery requests in this case. The exhibit is authenticated in the
   17
        Declaration of Dennis Newberry filed contemporaneously herewith.
   18
              17.   Attached hereto as Exhibit 16 (NGC0315499, NGC0315500) is a
   19
        true and correct copy of an email from R. Hamlin attaching Investment
   20
        Committee Orientation presentation produced by the Defendants in response to
   21   Plaintiffs’ discovery requests in this case.
   22         18.   Attached hereto as Exhibit 17 (NGC0249266) is a true and correct
   23   copy of the June 2012 Fiduciary Oversight Policy produced by the Defendants
   24   in response to Plaintiffs’ discovery requests in this case. The exhibit is
   25   authenticated in the Declaration of Dennis Newberry filed contemporaneously
   26   herewith.
   27         19.   Attached hereto as Exhibit 18 (NGC0015975) is a true and correct
   28   copy of the Northrop Grumman Savings Plan presentation produced by the


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Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 5 of 18 Page ID #:3636



    1
        Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
    2
        is authenticated in the Declaration of Dennis Newberry filed contemporaneously
    3   herewith.
    4         20.    Attached hereto as Exhibit 19 (NGC0276410) is a true and correct
    5   copy of the March 2010 ITA Investments Review produced by the Defendants
    6   in response to Plaintiffs’ discovery requests in this case. The exhibit is
    7   authenticated in the Declaration of Dennis Newberry filed contemporaneously
    8   herewith.
    9         21.    Attached hereto as Exhibit 20 (IC Minutes Compilation) are true
   10   and correct copies of the minutes of the Investment Committees produced by the
   11   Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit

   12
        is authenticated in the Declaration of Dennis Newberry filed contemporaneously
        herewith.
   13
              22.    Attached hereto as Exhibit 21 (NGC0334480), Exhibit 22
   14
        (NGC0016233), Exhibit 23 (NGC0334490) and Exhibit 24 (NGC0334457)
   15
        are true and correct copies of Board Minutes produced by the Defendants in
   16
        response to Plaintiffs’ discovery requests in this case.
   17
              23.    Attached hereto as Exhibit 25 (NGC0065061) and Exhibit 26
   18
        (NGC0065216) are true and correct copies of Memos from the Committees to
   19
        the CEO produced by the Defendants in response to Plaintiffs’ discovery
   20
        requests in this case.
   21         24.    Attached hereto as Exhibit 27 is a true and correct copy of the
   22   Expert Report of Christian Lundblad, dated September 14, 2018.
   23         25.    Attached hereto as Exhibit 28 (NGC0154066, NGC0154067) is a
   24   true and correct copy of an email from Ronald Senkandwa attaching the SSgA
   25   Active EM Termination presentation produced by the Defendants in response to
   26   Plaintiffs’ discovery requests in this case. The exhibit is authenticated in the
   27   Declaration of Dennis Newberry filed contemporaneously herewith.
   28


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Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 6 of 18 Page ID #:3637



    1
              26.    Attached hereto as Exhibit 29 (NGC0179877) is a true and correct
    2
        copy of the November 24, 2008 DC Emerging Markets Fund presentation
    3   produced by the Defendants in response to Plaintiffs’ discovery requests in this
    4   case. The exhibit is authenticated in the Declaration of Dennis Newberry filed
    5   contemporaneously herewith.
    6         27.    Attached hereto as Exhibit 30 (NGC0119125) is a true and correct
    7   copy of December 2011 DC Emerging Market Fund Review presentation
    8   produced by the Defendants in response to Plaintiffs’ discovery requests in this
    9   case. The exhibit is authenticated in the Declaration of Dennis Newberry filed
   10   contemporaneously herewith.
   11         28.    Attached hereto as Exhibit 31 (NGC0019267) is a true and correct

   12
        of the January 2015 Northrop Grumman Savings Plan Summary Plan
        Description produced by the Defendants in response to Plaintiffs’ discovery
   13
        requests in this case.
   14
              29.    Attached hereto as Exhibit 32 is a true and correct copy of excerpts
   15
        of from the transcripts of the deposition of Michael Lyster, dated June 28, 2018.
   16
              30.    Attached hereto as Exhibit 33 (NGC0304525) is a true and correct
   17
        copy of the August 2007 Emerging Markets Fund Review presentation produced
   18
        by the Defendants in response to Plaintiffs’ discovery requests in this case. The
   19
        exhibit is authenticated in the Declaration of Dennis Newberry filed
   20
        contemporaneously herewith.
   21         31.    Attached hereto as Exhibit 34 (NGC0070698) is a true and correct
   22   copy of the May 14, 2013 Investment Update presentation produced by the
   23   Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
   24   is authenticated in the Declaration of Dennis Newberry filed contemporaneously
   25   herewith.
   26         32.    Attached hereto as Exhibit 35 (NGC0062024) is a true and correct
   27   copy of the December 2008 401(k) Update presentation produced by the
   28   Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit


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Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 7 of 18 Page ID #:3638



    1
        is authenticated in the Declaration of Dennis Newberry filed contemporaneously
    2
        herewith.
    3         33.   Attached hereto as Exhibit 36 (NGC0110514) is a true and correct
    4   copy of the May 17, 2010 Update/Recommendation of Investment Strategy
    5   produced by the Defendants in response to Plaintiffs’ discovery requests in this
    6   case. The exhibit is authenticated in the Declaration of Dennis Newberry filed
    7   contemporaneously herewith.
    8         34.   Attached hereto as Exhibit 37 (NGC011514) is a true and correct
    9   copy of excerpts of the August 27, 2010 Passive Project produced by the
   10   Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
   11   is authenticated in the Declaration of Dennis Newberry filed contemporaneously

   12
        herewith.
              35.   Attached hereto as Exhibit 38 (NGC0110827) is a true and correct
   13
        copy of the August 27, 2010 Update on Implementation of Passivity Investment
   14
        presentation produced by the Defendants in response to Plaintiffs’ discovery
   15
        requests in this case. The exhibit is authenticated in the Declaration of Dennis
   16
        Newberry filed contemporaneously herewith.
   17
              36.   Attached hereto as Exhibit 39 (NGC0051236) is a true and correct
   18
        copy of the August 19, 2014 Defined Contribution Emerging Market Equity
   19
        presentation produced by the Defendants in response to Plaintiffs’ discovery
   20
        requests in this case. The exhibit is authenticated in the Declaration of Dennis
   21   Newberry filed contemporaneously herewith.
   22         37.   Attached hereto as Exhibit 40 (NGC0119732) is a true and correct
   23   copy of the 2011 v. 2009 Published and Actual Fee Distributions produced by
   24   the Defendants in response to Plaintiffs’ discovery requests in this case. The
   25   exhibit is authenticated in the Declaration of Dennis Newberry filed
   26   contemporaneously herewith.
   27         38.   Attached hereto as Exhibit 41 (NGC0119772, NGC0119773) is a
   28   true and correct copy an email from Dennis Newberry attaching the 2011 Fee


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Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 8 of 18 Page ID #:3639



    1
        Review presentation produced by the Defendants in response to Plaintiffs’
    2
        discovery requests in this case. The exhibit is authenticated in the Declaration
    3   of Dennis Newberry filed contemporaneously herewith.
    4         39.   Attached hereto as Exhibit 42 (NGC0303696) is a true and correct
    5   copy of the Public Markets Group Quarterly Review presentation produced by
    6   the Defendants in response to Plaintiffs’ discovery requests in this case. The
    7   exhibit is authenticated in the Declaration of Dennis Newberry filed
    8   contemporaneously herewith.
    9         40.   Attached hereto as Exhibit 43 (NGC0197887) is a true and correct
   10   copy of the January 31, 2008 Callan Monthly Review produced in response to
   11   Plaintiffs’ discovery requests in this case. The exhibit is authenticated in the

   12
        Declaration of Dennis Newberry filed contemporaneously herewith.
              41.   Attached hereto as Exhibit 44 (NGC0199641) is a true and correct
   13
        copy of the March 31, 2013 Callan Monthly Review produced in response to
   14
        Plaintiffs’ discovery requests in this case. The exhibit is authenticated in the
   15
        Declaration of Dennis Newberry filed contemporaneously herewith.
   16
              42.   Attached hereto as Exhibit 45 (CALLAN0015677) is a true and
   17
        correct copy of the August 31, 2017 Callan Monthly Review produced in
   18
        response to Plaintiffs’ discovery requests in this case. The exhibit is
   19
        authenticated in the Declaration of Dennis Newberry filed contemporaneously
   20
        herewith.
   21         43.   Attached hereto as Exhibit 46 (CALLAN0009625) is a true and
   22   correct copy of the Agreement for Investment Consulting Services with Callan
   23   Associates produced in response to Plaintiffs’ discovery requests in this case.
   24   The exhibit is authenticated in the Declaration of Dennis Newberry filed
   25   contemporaneously herewith.
   26         44.   Attached hereto as Exhibit 47 (NGC0011660) is a true and correct
   27   copy of the May 24, 2013 Performance Review presentation produced by
   28   Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit


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Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 9 of 18 Page ID #:3640



    1
        is authenticated in the Declaration of Dennis Newberry filed contemporaneously
    2
        herewith.
    3         45.   Attached hereto as Exhibit 48 (NGC0011754) is a true and correct
    4   copy of the August 19, 2013 Performance Review presentation produced by
    5   Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
    6   is authenticated in the Declaration of Dennis Newberry filed contemporaneously
    7   herewith.
    8         46.   Attached hereto as Exhibit 49 (NGC0180473) is a true and correct
    9   copy of the November 11, 2013 Performance Review presentation produced by
   10   Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
   11   is authenticated in the Declaration of Dennis Newberry filed contemporaneously

   12
        herewith.
              47.   Attached hereto as Exhibit 50 (NGC0108927) is a true and correct
   13
        copy of the August 31, 2011 Annual Report from Wellington Trust produced by
   14
        Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
   15
        is authenticated in the Declaration of Dennis Newberry filed contemporaneously
   16
        herewith.
   17
              48.   Attached hereto as Exhibit 51 (NGC0194947) is a true and correct
   18
        copy of the August 31, 2012 Annual Report from Wellington Trust produced by
   19
        Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
   20
        is authenticated in the Declaration of Dennis Newberry filed contemporaneously
   21   herewith.
   22         49.   Attached hereto as Exhibit 52 (NGC0146166) is a true and correct
   23   copy of the August 31, 2013 Annual Report from Wellington Trust produced by
   24   Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
   25   is authenticated in the Declaration of Dennis Newberry filed contemporaneously
   26   herewith.
   27         50.   Attached hereto as Exhibit 53 (NGC0108334) is a true and correct
   28   copy of the August 31, 2014 Annual Report from Wellington Trust produced by


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Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 10 of 18 Page ID
                                  #:3641


 1
     Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
 2
     is authenticated in the Declaration of Dennis Newberry filed contemporaneously
 3   herewith.
 4         51.   Attached hereto as Exhibit 54 (NGC0096993) is a true and correct
 5   copy of the February 29, 2012 Annual Report from GMO produced by
 6   Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
 7   is authenticated in the Declaration of Dennis Newberry filed contemporaneously
 8   herewith.
 9         52.   Attached hereto as Exhibit 55 (NGC0097382) is a true and correct
10   copy of the February 28, 2013 Annual Report from GMO produced by
11   Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit

12
     is authenticated in the Declaration of Dennis Newberry filed contemporaneously
     herewith.
13
           53.   Attached hereto as Exhibit 56 (NGC0098874) is a true and correct
14
     copy of the February 28, 2014 Annual Report from GMO produced by
15
     Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
16
     is authenticated in the Declaration of Dennis Newberry filed contemporaneously
17
     herewith.
18
           54.   Attached hereto as Exhibit 57 (NGC015952) is a true and correct
19
     copy of the Investment Management Agreement with State Street Global
20
     Advisors produced by Defendants in response to Plaintiffs’ discovery requests in
21   this case. The exhibit is authenticated in the Declaration of Dennis Newberry
22   filed contemporaneously herewith.
23         55.   Attached hereto as Exhibit 58 (AC Minutes Compilation) are true
24   and correct copies of the minutes of the Administrative Committees produced by
25   the Defendants in response to Plaintiffs’ discovery requests in this case. The
26   exhibit is authenticated in the Declaration of Michael Lyster Newberry filed
27   contemporaneously herewith.
28


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Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 11 of 18 Page ID
                                  #:3642


 1
           56.   Attached hereto as Exhibit 59 (NGC0332495)is a true and correct
 2
     copy of the December 12, 2011 Administrative Committees meeting material
 3   produced by Defendants in response to Plaintiffs’ discovery requests in this
 4   case. The exhibit is authenticated in the Declaration of Michael Lyster filed
 5   contemporaneously herewith.
 6         57.   Attached hereto as Exhibit 60 (NGC0009790) is a true and correct
 7   copy of the November 8, 2013 Administrative Committees meeting material
 8   produced by Defendants in response to Plaintiffs’ discovery requests in this
 9   case. The exhibit is authenticated in the Declaration of Michael Lyster filed
10   contemporaneously herewith.
11         58.   Attached hereto as Exhibit 61 (MSIM 0126, Grabek Trial Ex. 46)

12
     is a true and correct copy of the May 15, 1996 Board Resolutions.
           59.   Attached hereto as Exhibit 62 (NG0954868, Grabek Trial Ex.
13
     404) is a true and correct copy of the June 16, 2007 Board Resolutions.
14
           60.   Attached hereto as Exhibit 63 (NGC0010512) is a true and correct
15
     copy of the 2014 Delegation of Authority Matrix produced by the Defendants in
16
     response to Plaintiffs’ discovery requests in this case.
17
           61.   Attached hereto as Exhibit 64 (NG00678250, Grabek Trial Ex.
18
     271) is a true and correct copy of 2004 Delegation of Authority Matrix.
19
           62.   Attached hereto as Exhibit 65 (NGC0164931) is a true and correct
20
     copy of the Administrative Services Agreement with Hewitt produced by
21   Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
22   is authenticated in the Declaration of Michael Lyster filed contemporaneously
23   herewith.
24         63.   Attached hereto as Exhibit 66 (NGC0172668) is a true and correct
25   copy of Exhibit A – Statement of Work to Hewitt Administrative Services
26   Agreement produced by Defendants in response to Plaintiffs’ discovery requests
27   in this case. The exhibit is authenticated in the Declaration of Michael Lyster
28   filed contemporaneously herewith.


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Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 12 of 18 Page ID
                                  #:3643


 1
           64.    Attached hereto as Exhibit 67 (NG00685304, Grabek Trial Ex.
 2
     179) is a true and correct copy of email from Dennis Wootan re: RFP for
 3   Administrative Services.
 4         65.    Attached hereto as Exhibit 68 (NG7_00025845, Grabek Trial Ex.
 5   789) is a true and correct an email attaching Benefits Administration Outsources
 6   Services RFP Business Case presentation.
 7         66.    Attached hereto as Exhibit 69 (NGC0329181) is a true and correct
 8   copy of the Exhibits A-1-K to the January 1, 2006 Hewitt Administrative
 9   Services Agreement produced by Defendants in response to Plaintiffs’ discovery
10   requests in this case. The exhibit is authenticated in the Declaration of Michael
11   Lyster filed contemporaneously herewith.

12         67.    Attached hereto as Exhibit 70 (NGC0028384) is a true and correct
     copy of the Process & Value-Added Support document produced by Defendants
13
     in response to Plaintiffs’ discovery requests in this case. The exhibit is
14
     authenticated in the Declaration of Michael Lyster filed contemporaneously
15
     herewith.
16
           68.    Attached hereto as Exhibit 71 (NGC0333028, NGC0333030) is a
17
     true and correct copy of email from Bob Kersey to Lynn Weiner attaching a July
18
     2010 news release produced by the Defendants in response to Plaintiffs’
19
     discovery requests in this case.
20
           69.    Attached hereto as Exhibit 72 (NGC0332870) is a true and correct
21   copy of Professional Services Agreement between Northrop and Weilyn
22   Consulting produced by the Defendants in response to Plaintiffs’ discovery
23   requests in this case.
24         70.    Attached hereto as Exhibit 73 (NGC0333021) is a true and correct
25   copy of Statement of Work for Weilyn Consulting Agreement produced by the
26   Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
27   is authenticated in the Declaration of Michael Lyster filed contemporaneously
28   herewith.


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Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 13 of 18 Page ID
                                  #:3644


 1
           71.   Attached hereto as Exhibit 74 (NGC0332757 at NGC0332758) is a
 2
     true and correct copy of the Weilyn analysis produced by Defendants in
 3   response to Plaintiffs’ discovery requests in this case.
 4         72.   Attached hereto as Exhibit 75 (NGC0332736, NGC0332737) is a
 5   true and correct copy of an email from Bob Kersey attaching Market Pricing
 6   Data for Titan presentation produced by Defendants in response to Plaintiffs’
 7   discovery requests in this case. The exhibit is authenticated in the Declaration
 8   of Michael Lyster filed contemporaneously herewith.
 9         73.   Attached hereto as Exhibit 76 (NGC0166693) is a true and correct
10   copy of the First Amendment to the Hewitt Administrative Services Agreement
11   produced by Defendants in response to Plaintiffs’ discovery requests in this

12
     case. The exhibit is authenticated in the Declaration of Michael Lyster filed
     contemporaneously herewith.
13
           74.   Attached hereto as Exhibit 77 (NGC0332722) is a true and correct
14
     copy of an email from Bob Kersey Fee produced by Defendants in response to
15
     Plaintiffs’ discovery requests in this case. The exhibit is authenticated in the
16
     Declaration of Michael Lyster filed contemporaneously herewith.
17
           75.   Attached hereto as Exhibit 78 (NGC0000720) is a true and correct
18
     copy of the 2010 Northrop Grumman Savings Plan Form 5500 produced by the
19
     Defendants in response to Plaintiffs’ discovery requests in this case.
20
           76.   Attached hereto as Exhibit 79 (NGC0127609) is a true and correct
21   copy of the September 29, 2014 DB, DC and H&W Administration RFP:
22   Overview presentation produced by the Defendants in response to Plaintiffs’
23   discovery requests in this case. The exhibit is authenticated in the Declaration
24   of Michael Lyster filed contemporaneously herewith.
25         77.   Attached hereto as Exhibit 80 (NGC0010164) is a true and correct
26   copy of the Benefits Outsourcing RFP: Final Report produced by Defendants in
27   response to Plaintiffs’ discovery requests in this case. The exhibit is
28


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Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 14 of 18 Page ID
                                  #:3645


 1
     authenticated in the Declaration of Michael Lyster filed contemporaneously
 2
     herewith.
 3         78.   Attached hereto as Exhibit 81 (NGC0015206) is a true and correct
 4   copy of the Administrative Services Agreement with Fidelity produced by
 5   Defendants in response to Plaintiffs’ discovery requests in this case.
 6         79.   Attached hereto as Exhibit 82 is a true and correct copy of the
 7   Expert Report of Steven K. Gissiner, dated September 14, 2018.
 8         80.   Attached hereto as Exhibit 83 (NGC0009244) is a true and correct
 9   copy of December 11, 2012 Administrative Committee meeting material
10   containing a trust budget presentation produced by the Defendants in response to
11   Plaintiffs’ discovery requests in this case. The exhibit is authenticated in the

12
     Declaration of Michael Lyster filed contemporaneously herewith.
           81.   Attached hereto as Exhibit 84 (NGC0008793) is a true and correct
13
     copy of an Hewitt Performance Scorecard produced by Defendants in response
14
     to Plaintiffs’ discovery requests in this case. The exhibit is authenticated in the
15
     Declaration of Michael Lyster filed contemporaneously herewith.
16
           82.   Attached hereto as Exhibit 85 (NGC0123151) is a true and correct
17
     copy of the June 1, 2012 Hewitt Service Provider Fee Disclosure as Required by
18
     ERISA 408(b)(2) produced by Defendants in response to Plaintiffs’ discovery
19
     requests in this case. The exhibit is authenticated in the Declaration of Michael
20
     Lyster filed contemporaneously herewith.
21         83.   Attached hereto as Exhibit 86 (NGC0181467) is a true and correct
22   copy of a calendar invitation produced by Defendants in response to Plaintiffs’
23   discovery requests in this case.
24         84.   Attached hereto as Exhibit 87 (NGC0104941, NGC0104942) is a
25   true and correct copy of an email from Suzanne Renggli attaching Financial
26   Engines expense report produced by Defendants in response to Plaintiffs’
27   discovery requests in this case.
28


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Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 15 of 18 Page ID
                                  #:3646


 1
             85.   Attached hereto as Exhibit 88 (NGC0032778) is a true and correct
 2
     copy of the August 10, 2011 Agreement for Consulting Services with Callan
 3   produced by Defendants in response to Plaintiffs’ discovery requests in this
 4   case.
 5           86.   Attached hereto as Exhibit 89 (NGC0129747) is a true and correct
 6   copy of Advice and Managed Account Search presentation by Callan produced
 7   by Defendants in response to Plaintiffs’ discovery requests in this case. The
 8   exhibit is authenticated in the Declaration of Michael Lyster filed
 9   contemporaneously herewith.
10           87.   Attached hereto as Exhibit 90 (NGC0128817, NGC0128819) is a
11   true and correct copy of an email from Jamie McAllister attaching Advice and

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     Managed Account Search presentation produced by the Defendants in response
     to Plaintiffs’ discovery requests in this case. The exhibit is authenticated in the
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     Declaration of Michael Lyster filed contemporaneously herewith.
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             88.   Attached hereto as Exhibit 91 (NGC0051300, NGC0051301) is a
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     true and correct copy of an email attaching Advice and Managed Account
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     Search presentation produced by the Defendants in response to Plaintiffs’
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     discovery requests in this case. The exhibit is authenticated in the Declaration
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     of Michael Lyster filed contemporaneously herewith.
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             89.   Attached hereto as Exhibit 92 (CALLAN0001478) is a true and
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     correct copy of an email between Callan and Hewitt regarding Hewitt RFI
21   responses produced in response to Plaintiffs’ discovery requests in this case.
22           90.   Attached hereto as Exhibit 93 (CALLAN0001487) is a true and
23   correct copy of an email between Callan and Hewitt regarding Hewitt’s RFI
24   responses produced in response to Plaintiffs’ discovery requests in this case.
25           91.   Attached hereto as Exhibit 94 (CALLAN0001489) is a true and
26   correct copy of Hewitt RFI responses produced in response to Plaintiffs’
27   discovery requests in this case.
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Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 16 of 18 Page ID
                                  #:3647


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             92.   Attached hereto as Exhibit 95 (NGC0332309) is a true and correct
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     copy of November 10, 2011 Administrative Committee meeting material
 3   produced by the Defendants in response to Plaintiffs’ discovery requests in this
 4   case. The exhibit is authenticated in the Declaration of Michael Lyster filed
 5   contemporaneously herewith.
 6           93.   Attached hereto as Exhibit 96 (NGC0176076) is a true and correct
 7   copy of the December 19, 2011 Financial Services Agreement with the NGSP
 8   produced by the Defendants in response to Plaintiffs’ discovery requests in this
 9   case. The exhibit is authenticated in the Declaration of Michael Lyster filed
10   contemporaneously herewith.
11           94.   Attached hereto as Exhibit 97 (NGC0325970) is a true and correct

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     copy of the Financial Engines announcement produced by the Defendants in
     response to Plaintiffs’ discovery requests in this case.
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             95.   Attached hereto as Exhibit 98 (NGC0310802) is a true and correct
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     copy of the Hewitt-Financial Engines Master Services Agreement produced by
15
     the Defendants in response to Plaintiffs’ discovery requests in this case.
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             96.   Attached hereto as Exhibit 99 is a true and correct copy of excerpts
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     of from the transcript of the deposition of Stephen M. Rubino, dated August 22,
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     2018.
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             97.   Attached hereto as Exhibit 100 (NGC)157201) is a true and correct
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     copy of RFI responses produced by the Defendants in response to Plaintiffs’
21   discovery requests in this case.
22           98.   Attached hereto as Exhibit 101 (CALLAN0002028) is a true and
23   correct copy of the Request for Proposal for Benefits Plan Service Provider and
24   Third Party Administrator Fee Benchmarking produced by in response to
25   Plaintiffs’ discovery requests in this case. The exhibit is authenticated in the
26   Declaration of Michael Lyster filed contemporaneously herewith.
27           99.   Attached hereto as Exhibit 102 (NGC0184168) is a true and correct
28   copy of the January 27, 2015 Financial Engines Benchmarking Review


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Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 17 of 18 Page ID
                                  #:3648


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     presentation produced by the Defendants in response to Plaintiffs’ discovery
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     requests in this case. The exhibit is authenticated in the Declaration of Michael
 3   Lyster filed contemporaneously herewith.
 4         100. Attached hereto as Exhibit 103 (NGC0176495) is a true and correct
 5   copy of the May 7, 2015 Corporate Benefits Presentation to BPAC produced by
 6   the Defendants in response to Plaintiffs’ discovery requests in this case. The
 7   exhibit is authenticated in the Declaration of Michael Lyster filed
 8   contemporaneously herewith.
 9         101. Attached hereto as Exhibit 104 (NGC0322440) is a true and correct

10   copy of Amendment No. 2 to the Financial Services Agreement with Financial
11   Engines produced by the Defendants in response to Plaintiffs’ discovery

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     requests in this case. The exhibit is authenticated in the Declaration of Michael
     Lyster filed contemporaneously herewith.
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           102. Attached hereto as Exhibit 105 (NGC0015941) is a true and correct
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     copy of the Retirement Administration and Services Org Charts produced by the
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     Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
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     is authenticated in the Declaration of Michael Lyster filed contemporaneously
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     herewith.
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           103. Attached hereto as Exhibit 106 (NGC0032575) is a true and correct
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     copy of an email from Michael Lyster re: spinco/titan produced by the
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     Defendants in response to Plaintiffs’ discovery requests in this case. The exhibit
21   is authenticated in the Declaration of Michael Lyster filed contemporaneously
22   herewith.
23         104. Attached hereto as Exhibit 107 (NGC0157205) is a true and correct
24   copy of the Financial Engines implementation process produced by the
25   Defendants in response to Plaintiffs’ discovery requests in this case.
26         105. Attached hereto as Exhibit 108 is a true and correct copy of
27   excerpts of the deposition of Martin A. Schmidt, dated November 2, 2018
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Case 2:16-cv-06794-AB-JC Document 168-5 Filed 02/01/19 Page 18 of 18 Page ID
                                  #:3649


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           106. Attached hereto as Exhibit 109 is a true and correct copy of the
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     Expert Report of Martin A. Schmidt, dated September 14, 2018.
 3         107. Attached hereto as Exhibit 110 is a true and correct copy of
 4   excerpts of the deposition of Dennis Newberry, dated June 5, 2018.
 5         108. On February 1, 2019, I visited Northrop Grumman’s website at
 6   www.northropgrumman.com and found general information about the Company
 7   throughout the site.
 8         I declare under penalty of perjury under the laws of the United States of
 9   America that the foregoing is true and correct. Executed this 1st day of February
10   2019, at Chicago, Illinois.
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                                          ___/s/Nancy G. Ross____________________
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